




NO. 07-07-0500-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



FEBRUARY 28, 2008



______________________________





MILES B. HORTON, 



Appellant



v.



THE STATE OF TEXAS, 



Appellee





_________________________________



FROM THE COUNTY COURT AT LAW NO. TWO OF LUBBOCK COUNTY;



NO. 2007-443823; HON. DRUE FARMER, PRESIDING



_______________________________



Abatement and Remand



_______________________________



Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

Miles B. Horton (appellant) filed a notice of appeal from his conviction for driving while intoxicated on December 19, 2007. &nbsp;On December 14, 2007, the trial court signed its certification representing that appellant has the right of appeal. &nbsp;However, the appellate record reflects that appellant failed to sign the certification pursuant to Texas Rule of Appellate Procedure 25.2(d) which requires the certification to be signed by appellant and a copy served on him.
(footnote: 1)
	Consequently, we abate the appeal and remand the cause to the County Court at Law Number Two of Lubbock County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall take such action necessary to secure and file with this court a certificate of right to appeal that complies with Texas Rule of Appellate Procedure 25.2(d) by March 28, 2008. &nbsp;Should additional time be needed to perform these tasks, the trial court may request same on or before March 28, 2008.

It is so ordered.

Per Curiam

Do not publish.
	





FOOTNOTES
1:Became effective September 1, 2007.




